     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 1 of 30




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
                                               )
SECURITIES AND EXCHANGE                        )
COMMISSION,
                                               )
       Plaintiff,                              )
                                               )
                      v.                              Civil Action No. 1:14-cv-14692-LTS
                                               )
HOWARD B. PRESENT,                             )
                                               )
       Defendant.                              )
                                               )

                ANSWER OF HOWARD B. PRESENT TO COMPLAINT

       Defendant Howard B. Present (“Mr. Present”), by and through undersigned counsel,

hereby answers the Complaint of Plaintiff, the Securities and Exchange Commission (“SEC”),

and asserts affirmative and other defenses.

       Mr. Present denies all allegations of the Complaint that are not specifically admitted

herein. The numbered paragraphs of this Answer correspond to the paragraphs as numbered

in the Complaint. To the extent paragraphs in the Complaint are grouped under headings,

Mr. Present responds generally that such headings and groupings are conclusions of law or

fact and denies each and every allegation made or implied by such headings or groupings. To

the extent paragraphs in the Complaint contain allegations that reference unidentified persons

or entities, Mr. Present responds generally that he cannot respond to allegations concerning

unidentified persons or entities. Mr. Present has made his best effort to respond to

paragraphs containing such allegations. To the extent paragraphs in the Complaint contain

allegations that refer to the operation of “F-Squared” (the “doing business as” name of F-

Squared Investment Management, LLC and its subsidiaries), Mr. Present lacks sufficient

knowledge or information to form a belief as to the truth of allegations concerning the

company’s current operations and responds based on his knowledge and information as of

November 2014.
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 2 of 30




       In answer to the separate numbered paragraphs of the Complaint, Mr. Present states:

       1.      With respect to the first sentence of Paragraph 1, Mr. Present admits that “F-

Squared” is the “doing business as” name of F-Squared Investment Management, LLC and its

subsidiaries. Mr. Present admits that F-Squared is currently headquartered in Wellesley,

Massachusetts. Mr. Present admits that F-Squared Investments, Inc. is a wholly-owned

subsidiary of F-Squared Investment Management, LLC and an investment adviser and that F-

Squared Investments, Inc. offers, inter alia, services related to a series of indices of

exchange-traded funds (“ETFs”) that are marketed under the name “AlphaSector.” The

remaining allegations in the first sentence of Paragraph 1 are characterizations, arguments, or

conclusions of law to which no response is required. With respect to the second sentence of

Paragraph 1, Mr. Present admits that he is one of the co-founders of F-Squared Investments,

LLC. Mr. Present lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in the text of the second sentence of Paragraph 1 and therefore

denies them. The allegations in footnotes 1 and 2 are characterizations or definitions of the

terms “index” and “exchange-traded fund” to which no response is required. With respect to

the third sentence of Paragraph 1, Mr. Present admits that, from May 2006 to November

2014, he was the Chief Executive Officer (“CEO”) of F-Squared Investment Management,

LLC or one of its predecessor entities. Mr. Present denies any and all remaining allegations

of Paragraph 1.

       2.      Mr. Present admits that F-Squared, offers, inter alia, services related to indices

marketed under the name “AlphaSector.” Mr. Present admits that F-Squared’s U.S. equity

AlphaSector indices, the AlphaSector Rotation Index (“AlphaSector Rotation Index” or

“AlphaSector Rotation”) and the AlphaSector Premium Index (“AlphaSector Premium

Index” or “AlphaSector Premium”), are comprised of a portfolio of sector ETF securities.

Mr. Present admits that AlphaSector Rotation is evaluated for rebalancing monthly based on



                                                2
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 3 of 30




buy/sell signals and that AlphaSector Premium is evaluated for rebalancing weekly based on

buy/sell signals. Mr. Present admits that the AlphaSector Rotation and AlphaSector Premium

indices are published daily by NASDAQ OMX (“NASDAQ”). Mr. Present admits that

NASDAQ first published the AlphaSector Rotation Index in October 2008. Mr. Present

admits that fees generated from AlphaSector have constituted a significant source of F-

Squared’s revenue over time. Mr. Present lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in the last sentence of Paragraph 2 and therefore

denies them. The allegations in footnote 3 are characterizations or definitions of the term

“model portfolio” to which no response is required. The allegation in footnote 4 that an

“‘algorithm’ is a mathematical model” is a characterization or definition of the term

“algorithm” to which no response is required. Mr. Present denies any and all remaining

allegations of Paragraph 2.

       3.      Mr. Present admits that, from May 2006 to November 2014, he was the CEO

of F-Squared Investment Management, LLC or one of its predecessor entities. Mr. Present

admits that, at one or more points in time, he was quoted in F-Squared’s press releases and

was interviewed by media outlets. Mr. Present admits that he was involved in the drafting of

a number of F-Squared’s earliest advertising materials, some of which were posted on F-

Squared’s website, and that he was involved in sending some of F-Squared’s advertising

materials to clients and prospective clients. Mr. Present admits that he was involved in

drafting descriptions of AlphaSector in one or more of F-Squared’s filings with the SEC.

Because the last sentence of Paragraph 3 does not identify any particular SEC filings, no

further response is required. Mr. Present denies any and all remaining allegations of

Paragraph 3.

       4.      The allegations in the first, second, third, fifth, and sixth sentences of

Paragraph 4 state conclusions of law to which no response is required. The allegations in



                                                3
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 4 of 30




footnote 6 are characterizations or definitions of the term “backtesting” to which no response

is required. Mr. Present denies any and all remaining allegations of Paragraph 4.

       5.      Mr. Present denies the allegations in the fourth, fifth, sixth, and seventh

sentences of Paragraph 5. Mr. Present denies knowing that the composite performance of

AlphaSector compiled by F-Squared was based on “backtested” information. Mr. Present

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations of Paragraph 5 and therefore denies them.

       6.      The allegations in the last sentence of Paragraph 6 state conclusions of law to

which no response is required. Mr. Present denies any and all remaining allegations of

Paragraph 6.

       7.      Mr. Present lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in the first sentence of Paragraph 7 and therefore denies them. Mr.

Present admits that, at some point in 2014, a total of approximately $28.5 billion of invested

assets tracked one or more of F-Squared’s approximately 75 AlphaSector indices. Mr.

Present admits that, between 2008 and 2014, and upon stepping down from his position as

CEO of F-Squared Investment Management, LLC in November 2014, he received

compensation and distributions from one or more F-Squared entities. The precise amount

and form of compensation and distributions Mr. Present received is set forth in F-Squared

documents, which speak for themselves. Mr. Present denies any and all remaining

allegations of Paragraph 7.

       8.      Paragraph 8 states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 8.

       9.      Mr. Present admits that the SEC purports in this action to seek the relief set

forth in Paragraph 9 but denies that the SEC is entitled to such relief. Paragraph 9 otherwise




                                               4
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 5 of 30




states conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 9.

       10.     Mr. Present admits that the SEC purports in this action to seek the relief set

forth in Paragraph 10 but denies that the SEC is entitled to such relief. Paragraph 10

otherwise states conclusions of law to which no response is required. Mr. Present denies any

and all remaining allegations of Paragraph 10.

       11.     Mr. Present admits that he resides, and has resided since 1993, within this

District. Mr. Present does not contest this Court’s jurisdiction over this action and does not

contest venue in this District.

       12.     Paragraph 12 states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 12.

       13.      Paragraph 13 states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 13.

       14.     Mr. Present admits that, as of the date of the filing of this Complaint, he was

53-years old, and that he lives in Wellesley, Massachusetts. Mr. Present admits that he was

one of the co-founders of F-Squared Investments, LLC and that he was the CEO of F-

Squared Investment Management, LLC or one of its predecessor entities from May 2006 to

on or about November 14, 2014. Mr. Present admits that before co-founding F-Squared

Investments, LLC, he had a long career in the investment management industry and that his

work at times included the development and marketing of mutual funds. Mr. Present admits

that from approximately April 2002 to approximately November 2004, he was the managing

director and head of global product management at an investment management company and

was part of a group that at times provided information that was included in some of that

company’s advertising materials. Mr. Present admits that from approximately June 1996 to

approximately January 2002, he was the managing director and head of global product



                                                 5
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 6 of 30




management at an investment management company and was part of a group that at times

provided information that was included in some of that company’s advertising materials. Mr.

Present denies any and all remaining allegations of Paragraph 14.

       15.     Mr. Present admits that F-Squared Investments, Inc. registered with the SEC

as an investment adviser in or about March 2008. Mr. Present admits that F-Squared’s

headquarters are currently in Wellesley, Massachusetts. Mr. Present admits that F-Squared

publishes approximately 75 AlphaSector indices and offers services linked to those indices.

Mr. Present lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the fourth sentence of Paragraph 15 and therefore denies them. Mr. Present

admits that, at some point in 2014, a total of approximately $28.5 billion of invested assets

tracked one or more of F-Squared’s approximately 75 AlphaSector indices. Mr. Present

admits that, as of approximately November 2014, F-Squared was the sub-advisor for

approximately $13 billion of mutual fund assets and that, as of November 2014, other assets

were invested through separately managed accounts that bought and sold ETFs based on

information from F-Squared. Mr. Present lacks knowledge or information sufficient to form

a belief as to the remaining allegations in the last two sentences of Paragraph 15 and therefore

denies them. The allegations in footnote 7 purport to characterize or describe a December 22,

2014 SEC administrative order, which speaks for itself. Mr. Present denies any and all

remaining allegations of Paragraph 15.

       16.     Mr. Present admits that he co-founded F-Squared Investments, LLC in 2006.

Mr. Present lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the third sentence of Paragraph 16 and therefore denies them. Mr. Present

denies the remaining allegations of Paragraph 16.

       17.     Mr. Present admits that, as of mid-2008, he had an equity stake in an F-

Squared entity. Mr. Present lacks knowledge or information sufficient to form a belief as to



                                               6
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 7 of 30




the truth of the remaining allegations in the first sentence of Paragraph 17 and therefore

denies them. Mr. Present denies any and all remaining allegations of Paragraph 17.

       18.      Mr. Present admits that, beginning in or about the first quarter of 2008, he had

numerous discussions, including with David Jay Morton, the principal of Morton Financial, a

private wealth advisory firm, relating to both F-Squared’s AlphaCycle indices and Mr.

Morton’s firm’s sector rotation strategy using ETFs. Mr. Present denies any and all

remaining allegations of Paragraph 18.

       19.      Mr. Present admits that, in or about the late spring or summer of 2008, he was

told that Corey Hoffstein was working for Mr. Morton as a summer intern and that Mr.

Hoffstein was working on various quantitative projects. Mr. Present denies any and all

remaining allegations of Paragraph 19.

       20.      Paragraph 20 appears to characterize or describe written communications,

which speak for themselves. Mr. Present denies any and all remaining allegations of

Paragraph 20.

       21.      Mr. Present admits that, in or about the summer of 2008, he and/or other

persons at F-Squared from time to time received information and documents from Mr.

Morton, Newfound Research (“NFR”), and/or one or more representatives of Morton

Financial or NFR. Paragraph 21 appears to characterize or describe one or more documents,

which speak for themselves. Mr. Present denies any and all remaining allegations of

Paragraph 21.

       22.      Mr. Present admits that he and/or one or more F-Squared employees worked

to convert information related to Mr. Morton’s sector rotation strategy that they received

from Mr. Morton, NFR, and/or one or more representatives of Morton Financial or NFR into

an index. Mr. Present denies any and all remaining allegations of Paragraph 22.




                                                7
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 8 of 30




       23.      Paragraph 23 appears to quote, characterize, or describe email

communications, all of which speak for themselves. Mr. Present denies any and all

remaining allegations of Paragraph 23.

       24.      Paragraph 24 appears to quote, characterize, or describe a July 31, 2008 email,

and one or more other documents, all of which speak for themselves. Mr. Present denies any

and all remaining allegations of Paragraph 24.

       25.      Paragraph 25 appears to characterize or describe one or more documents,

which speak for themselves. Mr. Present lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations of Paragraph 25 and therefore denies them.

       26.      Paragraph 26 appears to quote, characterize, or describe August 8, 2008

emails, and a document, all of which speak for themselves. The allegations in the last

sentence of Paragraph 26 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 26.

       27.      Paragraph 27 purports to quote, characterize, or describe August 8, 2008

emails, which speak for themselves. Mr. Present denies any and all remaining allegations of

Paragraph 27.

       28.      Mr. Present admits that he met with Mr. Hoffstein in or about August 2008 to

discuss Mr. Hoffstein’s work on an algorithm. Paragraph 28 appears to quote, characterize,

or describe August 2008 email communications, all of which speak for themselves. Mr.

Present denies any and all remaining allegations of Paragraph 28.

       29.      The allegations in the text of Paragraph 29 appear to characterize or describe

one or more documents, which speak for themselves. The allegations in footnote 8 are

characterizations or definitions of the term “simple moving average” to which no response is

required. Mr. Present denies any and all remaining allegations of Paragraph 29.




                                                 8
     Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 9 of 30




       30.     Paragraph 30 appears to quote, characterize, or describe an August 27, 2008

document, which speaks for itself. Mr. Present admits that F-Squared contracted with

NASDAQ, and not the American Stock Exchange, for the publication of F-Squared’s

AlphaSector indices. Mr. Present denies any and all remaining allegations of Paragraph 30.

       31.     Mr. Present admits that, on or about September 2, 2008, F-Squared entered

into an agreement with New Found Research LLC.1 Paragraph 31 appears to characterize or

describe that agreement, which speaks for itself. Mr. Present denies any and all remaining

allegations of Paragraph 31.

       32.     Paragraph 32 appears to quote, characterize, or describe September 2008 email

communications, and one or more other documents, all of which speak for themselves. Mr.

Present denies any and all remaining allegations of Paragraph 32.

       33.     With respect to the first and second sentences of Paragraph 33, Mr. Present

admits that, in or about September 2008, he asked an F-Squared employee to compile a

composite performance record for an index from information that he and/or one or more F-

Squared employees received from Mr. Morton, NFR, and/or one or more representatives of

Morton Financial or NFR that included data from the 60-week simple moving average, the

40-week simple moving average, and the most recent algorithm. With respect to the third

and fourth sentences of Paragraph 33, Mr. Present denies knowing that the composite

performance of the index compiled by F-Squared was based on “backtested” information.

Mr. Present lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in the third and fourth sentences of Paragraph 33 and therefore denies

them. Mr. Present denies any and all remaining allegations of Paragraph 33.




1
 Mr. Present understands the current name of this entity to be Newfound Research LLC or
Newfound Research (“NFR”).


                                               9
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 10 of 30




       34.      Paragraph 34 purports to quote, characterize, or describe a September 5, 2008

email, which speaks for itself. The allegations in the last sentence of Paragraph 34 state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 34.

       35.      Paragraph 35 appears to quote, characterize, or describe one or more

documents, which speak for themselves. The allegations in the last sentence of Paragraph 35

state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 35.

       36.      Paragraph 36 appears to quote, characterize, or describe a September 11, 2008

email and one or more other documents, all of which speak for themselves. The allegations

in the last sentence of Paragraph 36 state conclusions of law to which no response is required.

Mr. Present denies any and all remaining allegations of Paragraph 36.

       37.      Paragraph 37 purports to quote, characterize, or describe a September 18, 2008

press release and September 23, 2008 emails and attachments, all of which speak for

themselves. The allegations in the last sentence of Paragraph 37 state conclusions of law to

which no response is required. Mr. Present denies any and all remaining allegations of

Paragraph 37.

       38.      Paragraph 38 appears to quote, characterize, or describe various documents,

all of which speak for themselves. The allegations in the last sentence of Paragraph 38 state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 38.

       39.      Paragraph 39 appears to quote, characterize, or describe one or more

documents, which speak for themselves. Mr. Present denies any and all remaining

allegations of Paragraph 39.




                                              10
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 11 of 30




       40.     Paragraph 40 appears to quote, characterize, or describe September 2008

written communications, which speak for themselves. The allegations in the last sentence of

Paragraph 40 state conclusions of law to which no response is required. Mr. Present denies

any and all remaining allegations of Paragraph 40.

       41.     Mr. Present admits that, in or about the summer and early fall of 2008, he

and/or other persons at F-Squared received information and documents from Mr. Morton,

NFR, and/or one or more representatives of Morton Financial or NFR. To the extent the first

sentence of Paragraph 41 purports to characterize or describe documents or allegations

purportedly referenced in Paragraphs 21, 29, and 32, Mr. Present repeats and incorporates by

reference his responses to Paragraphs 21, 29 and 32. The allegations in the first, second, and

third sentences of Paragraph 41 appear to characterize or describe documents Mr. Present

received between July 29, 2008 and September 8, 2008, all of which speak for themselves.

Mr. Present lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the fourth and fifth sentences of Paragraph 41 and therefore denies them. Mr.

Present denies any and all remaining allegations of Paragraph 41.

       42.     The first, second, and third sentences of Paragraph 42 appears to characterize

or describe one or more documents, which speak for themselves. Mr. Present lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in the

last sentence of Paragraph 42 and therefore denies them. Mr. Present denies any and all

remaining allegations of Paragraph 42.

       43.     The sentences preceding the last sentence of Paragraph 43 purport to quote,

characterize, or describe a September 23, 2008 email, and one or more other documents, all

of which speak for themselves. Mr. Present lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in the last sentence of Paragraph 43 and

therefore denies them. Mr. Present denies any and all remaining allegations of Paragraph 43.



                                               11
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 12 of 30




       44.     Mr. Present denies the allegations of Paragraph 44.

       45.     Mr. Present lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in the first and second sentences of Paragraph 45 and therefore

denies them. Mr. Present denies the remaining allegations of Paragraph 45.

       46.     Paragraph 46 repeats allegations made in Paragraphs 3 and 14. Mr. Present

repeats and incorporates by reference his response to the same allegations in Paragraph 3 and

14. Mr. Present denies any and all remaining allegations of Paragraph 46.

       47.     The last sentence of Paragraph 47 references unidentified subsequent

allegations of the Complaint. Because the allegations are not identified, Mr. Present cannot

respond to them. Paragraph 47 otherwise states conclusions of law to which no response is

required. Mr. Present denies any and all remaining allegations of Paragraph 47.

       48.     Paragraph 48 appears to quote, characterize, or describe an October 3, 2008

email, and one or more other documents, all of which speak for themselves. The allegations

in the last sentence of Paragraph 48 state conclusions of law to which no response is required.

Mr. Present denies any and all remaining allegations of Paragraph 48.

       49.     Mr. Present admits that F-Squared Investments, Inc. is an investment adviser

registered with the SEC. The remaining allegations in the first sentence of Paragraph 49 are

conclusions of law to which no response is required. The remainder of Paragraph 49 appears

to quote, characterize, or describe an October 14, 2008 document filed by F-Squared with the

SEC, which speaks for itself. The allegations in the last sentence of Paragraph 49 state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 49.

       50.     Paragraph 50 purports to quote, characterize, or describe an article published

by Investment News on November 3, 2008, which speaks for itself. The allegations in the last




                                              12
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 13 of 30




sentence of Paragraph 50 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 50.

       51.      Mr. Present admits that, in or about the fourth quarter of 2008, F-Squared

began offering services related to its AlphaSector Premium Index. Mr. Present admits that

AlphaSector Premium was evaluated for rebalancing weekly, while AlphaSector Rotation

was evaluated for rebalancing monthly. Mr. Present lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in the third sentence of Paragraph

51 and therefore denies them. The allegations in the fourth, fifth, and sixth sentences of

Paragraph 51 appear to characterize or describe one or more documents, which speak for

themselves. The allegations in the last sentence of Paragraph 51 state conclusions of law to

which no response is required. Mr. Present denies any and all remaining allegations of

Paragraph 51.

       52.      Paragraph 52 appears to quote, characterize, or describe one or more

documents, which speak for themselves. The allegations in the last sentence of Paragraph 52

state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 52.

       53.      Paragraph 53 appears to quote, characterize, or describe one or more

documents, which speak for themselves. The allegations in the last sentence of Paragraph 53

state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 53.

       54.      Paragraph 54 purports to quote, characterize, or describe a May 19, 2009 press

release, which speaks for itself. The allegations in the last sentence of Paragraph 54 state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 54.




                                                13
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 14 of 30




       55.     Mr. Present denies the allegations in the first sentence of Paragraph 55. Mr.

Present lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of Paragraph 55 and therefore denies them.

       56.     Mr. Present admits that, in or about September 2009, a mutual fund company

hired F-Squared as a mutual fund sub-advisor and that Mr. Present was involved in

discussions leading up to that hiring. The first sentence of Paragraph 56 appears to

characterize or describe a sub-advisory agreement between F-Squared and the mutual fund

company that hired F-Squared in September 2009, which speaks for itself. The allegations in

the second sentence of Paragraph 56 are characterizations, arguments, or conclusions of law

to which no response is required. Mr. Present denies any and all remaining allegations of

Paragraph 56. Mr. Present responds sub-paragraph by sub-paragraph below.

               a.      Sub-paragraph 56(a) purports to quote, characterize, or describe one or

more documents, which speak for themselves. The allegations in the last sentence of sub-

paragraph 56(a) state conclusions of law to which no response is required. Mr. Present

denies any and all remaining allegations of sub-paragraph 56(a).

               b.      Sub-paragraph 56(b) purports to quote, characterize, or describe one or

more documents, which speak for themselves. The allegations in the last sentence of sub-

paragraph 56(b) state conclusions of law to which no response is required. Mr. Present

denies any and all remaining allegations of sub-paragraph 56(b).

               c.      Sub-paragraph 56(c) appears to quote, characterize, or describe one or

more documents, which speak for themselves. The allegations in footnote 9 are

characterizations of Section 15(c) of the Investment Company Act, which speaks for itself.

The allegations in the last sentence of sub-paragraph 56(c) state conclusions of law to which

no response is required. Mr. Present denies any and all remaining allegations of sub-

paragraph 56(c).



                                              14
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 15 of 30




               d.      Sub-paragraph 56(d) purports to quote, characterize, or describe one or

more documents, which speak for themselves. The allegations in the last sentence of sub-

paragraph 56(d) state conclusions of law to which no response is required. Mr. Present

denies any and all remaining allegations of sub-paragraph 56(d).

               e.      Sub-paragraph 56(e) purports to quote, characterize, or describe one or

more documents, which speak for themselves. The allegations in the last sentence of sub-

paragraph 56(e) state conclusions of law to which no response is required. Mr. Present

denies any and all remaining allegations of sub-paragraph 56(e).

               f.      Sub-paragraph 56(f) purports to quote, characterize or describe one or

more documents, which speak for themselves. The allegations in the last sentence of sub-

paragraph 56(f) state conclusions of law to which no response is required. Mr. Present denies

any and all remaining allegations of sub-paragraph 56(f).

               g.      Sub-paragraph 56(g) appears to quote, characterize, or describe a

September 16, 2009 email, which speaks for itself. The allegations in the last sentence of

sub-paragraph 56(g) state conclusions of law to which no response is required. Mr. Present

denies any and all remaining allegations of sub-paragraph 56(g).

               h.      The first sentence of sub-paragraph 56(h) appears to characterize or

describe an October 1, 2009 document, which speaks for itself. Mr. Present lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in the

first sentence of sub-paragraph 56(h) and therefore denies them. Sub-paragraph 56(h)

appears to quote, characterize, or describe one or more other documents, all of which speak

for themselves. The allegations in the last sentence of sub-paragraph (h) state conclusions of

law to which no response is required. Mr. Present denies any and all remaining allegations of

sub-paragraph 56(h).




                                               15
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 16 of 30




               i.      Sub-paragraph 56(i) appears to quote, characterize, or describe one or

more documents, which speak for themselves. The allegations in the last sentence of sub-

paragraph 56(i) state conclusions of law to which no response is required. Mr. Present denies

any and all remaining allegations of sub-paragraph 56(i).

       57.     Paragraph 57 purports to characterize or describe January 13, 2010 press

releases, which speak for themselves. The allegations in the last sentence of Paragraph 57

state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 57.

       58.     Paragraph 58 purports to quote, characterize, or describe an article published

by Investment Weekly News on January 30, 2010, which speaks for itself. The allegations in

the last sentence of Paragraph 58 state conclusions of law to which no response is required.

Mr. Present denies any and all remaining allegations of Paragraph 58.

       59.     Paragraph 59 purports to quote, characterize, or describe an interview

published by Investment Management Weekly on May 7, 2010, which speaks for itself. The

allegations in the last sentence of Paragraph 59 state conclusions of law to which no response

is required. Mr. Present denies any and all remaining allegations of Paragraph 59.

       60.     Paragraph 60 purports to quote, characterize, or describe a June 28, 2010

email, which speaks for itself. The allegations in the last sentence of Paragraph 60 state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 60.

       61.     Paragraph 61 purports to quote, characterize, or describe a “portfolio manager

profile” published by Bank Investment Consultant on October 1, 2010, which speaks for

itself. Mr. Present admits that press coverage regarding F-Squared was, at times, posted on

the company’s website but lacks knowledge or information sufficient to form a belief as to

whether the profile referenced in Paragraph 61 was posted on the website and therefore



                                              16
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 17 of 30




denies that allegation. The allegations in the last sentence of Paragraph 61 state conclusions

of law to which no response is required. Mr. Present denies any and all remaining allegations

of Paragraph 61.

       62.      Paragraph 62 appears to quote, characterize, or describe November 3, 2010

and January 21, 2011 emails, which speak for themselves. The allegations in the last

sentence of Paragraph 62 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 62.

       63.      Paragraph 63 appears to quote, characterize, or describe a March 9, 2011

document, which speaks for itself. The allegations in the last sentence of Paragraph 63 state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 63.

       64.      Paragraph 64 purport to quote, characterize, or describe a September 28, 2011

interview of Mr. Present conducted by Closing Bell, which speaks for itself. Mr. Present

admits that press coverage regarding F-Squared was, at times, posted on the company’s

website but lacks knowledge or information sufficient to form a belief as to whether the

interview referenced in Paragraph 64 was posted on the website and therefore denies that

allegation. The allegations in the last sentence of Paragraph 64 state conclusions of law to

which no response is required. Mr. Present denies any and all remaining allegations of

Paragraph 64.

       65.      Paragraph 65 purports to quote, characterize, or describe an article published

by Private Wealth on March 6, 2012, which speaks for itself. The allegations in the last

sentence of Paragraph 65 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 65.

       66.      Paragraph 66 purports to quote, characterize, or describe a March 23, 2012

document filed by F-Squared with the SEC, which speaks for itself. The allegations in the



                                               17
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 18 of 30




last sentence of Paragraph 66 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 66.

       67.      Mr. Present admits that F-Squared’s assets tracking the AlphaSector indices

grew in 2010 and 2011 and that F-Squared’s subadvisory relationship with a mutual fund

company contributed to that growth. Mr. Present lacks knowledge or information sufficient

to form a belief as to the truth of the remaining allegations of Paragraph 67 and therefore

denies them.

       68.      Mr. Present admits that, in 2012, F-Squared retained a compliance firm to

conduct a “mock audit.” Paragraph 68 appears to quote, characterize, or describe an audit

report received by F-Squared and written communications, all of which speak for themselves.

Mr. Present denies any and all remaining allegations of Paragraph 68.

       69.      Paragraph 69 appears to quote, characterize, or describe a June 18, 2012

document, which speaks for itself. To the extent Paragraph 69 purports to characterize or

describe documents or allegations purportedly referenced in Paragraphs 29 and 32, Mr.

Present repeats and incorporates by reference his responses to Paragraphs 29 and 32. Mr.

Present denies any and all remaining allegations of Paragraph 69.

       70.      Paragraph 70 appears to quote, characterize, or describe a June 18, 2012 email,

which speaks for itself. Mr. Present admits that he did not seek the referenced letter from the

author of the referenced email. Mr. Present denies any and all remaining allegations of

Paragraph 70.

       71.      Mr. Present denies the allegations of Paragraph 71.

       72.      Paragraph 72 purports to quote, characterize, or describe an October 8, 2012

document filed by F-Squared with the SEC, which speaks for itself. The allegations in the

last sentence of Paragraph 72 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 72.



                                              18
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 19 of 30




       73.     The first, second, third, and fourth sentences of Paragraph 73 appear to quote,

characterize, or describe an October 15, 2012 document, which speaks for itself. Prior to

discovery, Mr. Present lacks knowledge or information sufficient to form a belief as to the

truth of the allegation in the last sentence of Paragraph 73 and therefore denies it. Mr.

Present denies any and all remaining allegations of Paragraph 73.

       74.      The allegations in the first, second, third, and fifth sentences of Paragraph 74

appear to characterize or describe a series of emails and other documents, all of which speak

for themselves. Mr. Present lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in the fourth sentence of Paragraph 74 and therefore denies them.

To the extent the fifth sentence of Paragraph 74 purports to characterize or describe

documents or allegations purportedly referenced in Paragraph 43, Mr. Present repeats and

incorporates by reference his response to Paragraph 43. Mr. Present denies any and all

remaining allegations of Paragraph 74.

       75.     Mr. Present admits that he gave a presentation at a sales meeting in or about

December 2012. Paragraph 75 appears to quote, characterize, or describe an October 26,

2012 email and a presentation, which speak for themselves. The allegations in the last

sentence of Paragraph 75 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 75.

       76.     Paragraph 76 purports to quote, characterize, or describe an April 1, 2013

document filed by F-Squared with the SEC, which speaks for itself. The allegations in the

last sentence of Paragraph 76 state conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 76.

       77.     Mr. Present lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 77 and therefore denies them.




                                               19
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 20 of 30




       78.     Mr. Present admits that he met with Mr. Hoffstein and Mr. Rosedale on or

about July 1, 2013. Mr. Present denies the remaining allegations of Paragraph 78.

       79.     Mr. Present admits that as of approximately late July or early August 2013, an

examination of F-Squared by the SEC was underway. Mr. Present lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first

sentence of Paragraph 79 and therefore denies them. With respect to the second sentence of

Paragraph 79, Mr. Present admits that SEC staff interviewed him in or about late July or early

August 2013 and that, during that interview, he said that the performance of AlphaSector

prior to September 2008 was based on information provided by another investment adviser

and noted that confidentiality provisions in F-Squared’s agreement with NFR imposed certain

limitations on him. The allegations in the last sentence, including the indented portion, of

Paragraph 79 appear to quote, characterize, or describe a written document request, which

speaks for itself. Mr. Present denies any and all remaining allegations of Paragraph 79.

       80.     Mr. Present admits that SEC staff were in F-Squared’s office in Wellesley,

Massachusetts in or about late July 2013. Paragraph 80 purports to quote, characterize, or

describe a July 31, 2013 email and a July 31, 2013 voice mail, which speak for themselves.

Mr. Present lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of Paragraph 80 and therefore denies them.

       81.     Paragraph 81 purports to quote, characterize, or describe an August 1, 2013

email and a document, which speak for themselves. Mr. Present admits that, in or about late

July or August 2013, he told F-Squared’s CCO that someone associated with Mr. Morton’s

firm had provided to an F-Squared employee the information reflected in the referenced

document. Mr. Present admits that he told F-Squared’s CCO that the information reflected in

the referenced document confirmed Mr. Morton’s or Mr. Morton’s firm’s use of a sector

rotation strategy. Mr. Present lacks knowledge or information sufficient to form a belief as to



                                                20
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 21 of 30




the truth of the allegations in the last sentence of Paragraph 81 and therefore denies them.

Mr. Present denies any and all remaining allegations of Paragraph 81.

       82.      Paragraph 82 purports to quote, characterize, or describe a September 4, 2013

email, which speaks for itself. Mr. Present denies any and all remaining allegations of

Paragraph 82.

       83.      Mr. Present admits that F-Squared presentations were, at times, posted on the

company’s website but lacks knowledge or information sufficient to form a belief as to the

truth of the allegation that the presentations referenced in Paragraph 83 were on the

company’s website on September 16, 2013 and therefore denies that allegation. The

allegations of Paragraph 83 otherwise state conclusions of law to which no response is

required. Mr. Present denies any and all remaining allegations of Paragraph 83. Mr. Present

responds sub-paragraph by sub-paragraph below.

                a.     Sub-paragraph 83(a) purports to quote, characterize, or describe a

document, which speaks for itself. The allegations in the last sentence of sub-paragraph 83(a)

state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of sub-paragraph 83(a).

                b.     Sub-paragraph 83(b) purports to quote, characterize, or describe a

document, which speaks for itself. The allegations in the last sentence of sub-paragraph

83(b) state conclusions of law to which no response is required. Mr. Present denies any and

all remaining allegations of sub-paragraph 83(b).

                c.     Sub-paragraph 83(c) purports to quote, characterize, or describe a

document, which speaks for itself. The allegations in the last sentence of sub-paragraph 83(c)

state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of sub-paragraph 83(c).




                                                21
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 22 of 30




                d.     Sub-paragraph 83(d) purports to quote, characterize, or describe a

document, which speaks for itself. To the extent the remaining allegations of sub-paragraph

83(d) purport to characterize or describe documents or allegations purportedly referenced in

Paragraph 83(d), Mr. Present repeats and incorporates by reference his response to Paragraph

83(d). Mr. Present denies any and all remaining allegations of sub-paragraph 83(d).

                e.     Sub-paragraph 83(e) purports to quote, characterize, or describe a

“Manager Profile” published by Bank Investment Consultant on October 1, 2010, which

speaks for itself. To the extent the remaining allegations of sub-paragraph 83(e) purport to

characterize or describe documents or allegations purportedly referenced in Paragraph 61,

Mr. Present repeats and incorporates by reference his response to Paragraph 61. Mr. Present

denies any and all remaining allegations of sub-paragraph 83(e).

       84.      Paragraph 84 purports to quote, characterize, or describe a September 23, 2013

document, which speaks for itself. Mr. Present denies any and all remaining allegations of

Paragraph 84.

       85.      Paragraph 85 repeats allegations made in Paragraph 7. Mr. Present repeats

and incorporates by reference his response to the same allegations in Paragraph 7. Mr.

Present denies any and all remaining allegations of Paragraph 85.

       86.      The first sentence of Paragraph 86 references unidentified preceding

allegations of the Complaint. Because the allegations are not identified, Mr. Present cannot

respond to them. The allegations of Paragraph 86 otherwise state conclusions of law to

which no response is required. Mr. Present denies any and all remaining allegations of

Paragraph 86.

       87.      Mr. Present lacks knowledge or information sufficient to form a belief as to

the truth of the allegation in sub-paragraph 87(i) that “[t]he S&P 500 Index fell nearly 25% in

2002” and therefore denies that allegation. Paragraph 87 and its sub-paragraphs otherwise



                                              22
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 23 of 30




state conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 87 and its sub-paragraphs.

       88.      Mr. Present denies the allegations of Paragraph 88. To the extent Paragraph

88 purports to reference portions of Paragraphs 30 and 39, Mr. Present incorporates herein his

responses to the pertinent allegations of Paragraphs 30 and 39.

       89.      Mr. Present denies the allegations in the first sentence of Paragraph 89. Mr.

Present lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of Paragraph 89 and therefore denies them.

       90.      Mr. Present denies the allegations in the first and second sentences of

Paragraph 90. Mr. Present admits that, as of 2008, he had many years of experience in the

investment management industry, but denies the remaining allegations in the third sentence

of Paragraph 90. The allegations in the last sentence of Paragraph 90 are hypothetical

statements or conclusions of law to which no response is required. Mr. Present denies any

and all remaining allegations of Paragraph 90.

       91.      Mr. Present repeats and incorporates by reference his responses to Paragraphs

1 through 90.

       92.      Mr. Present admits that he was an investment adviser while at F-Squared.

Paragraph 92 otherwise states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 92.

       93.      The allegations of Paragraph 93 are characterizations of Sections 206(1) and

206(2) of the Advisers Act, which speak for themselves. Mr. Present denies any and all

remaining allegations of Paragraph 93.

       94.      Paragraph 94 references unidentified preceding allegations of the Complaint.

Because the allegations are not identified, Mr. Present cannot respond to them. Paragraph 94




                                               23
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 24 of 30




otherwise states conclusions of law to which no response is required. Mr. Present denies any

and all remaining allegations of Paragraph 94.

       95.      Paragraph 95 states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 95.

       96.      Mr. Present repeats and incorporates by reference his responses to Paragraphs

1 through 90.

       97.      The allegations of Paragraph 97 are characterizations of Section 206(4) of the

Advisers Act, Rule 206(4)-8, and Section 3(a) of the Investment Company Act of 1940,

which speak for themselves. Mr. Present denies any and all remaining allegations of

Paragraph 97.

       98.      Paragraph 98 references unidentified preceding allegations of the Complaint.

Because the allegations are not identified, Mr. Present cannot respond to them. Paragraph 98

otherwise states conclusions of law to which no response is required. Mr. Present denies any

and all remaining allegations of Paragraph 98.

       99.      Paragraph 99 states conclusions of law to which no response of required. Mr.

Present denies any and all remaining allegations of Paragraph 99.

       100.     Mr. Present repeats and incorporates by reference his responses to Paragraphs

1 through 90.

       101.     The allegations of Paragraph 101 are characterizations of Sections 207 and

203 of the Advisers Act, which speak for themselves. Mr. Present denies any and all

remaining allegations of Paragraph 101.

       102.     The first sentence of Paragraph 102 references unidentified preceding

allegations of the Complaint. Because the allegations are not identified, Mr. Present cannot

respond to them. With respect to the remaining allegations in the first sentence of Paragraph

102, Mr. Present admits that he was involved in drafting descriptions of AlphaSector in one



                                              24
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 25 of 30




or more of F-Squared’s filings with the SEC. Because Paragraph 102 does not identify any

particular filings, no further response is required. The second sentence of Paragraph 102

states conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 102.

       103.     Paragraph 103 states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 103.

       104.     Mr. Present repeats and incorporates by reference his responses to Paragraphs

1 through 90.

       105.     The first sentence of Paragraph 105 references unidentified preceding

allegations of the Complaint. Because the allegations are not identified, Mr. Present cannot

respond to them. The allegations of Paragraph 105 otherwise are characterizations of Section

206(4) of the Advisers Act and Rule 206(4)-1, which speak for themselves. Mr. Present

denies any and all remaining allegations of Paragraph 105.

       106.     The first sentence of Paragraph 106 references unidentified preceding

allegations of the Complaint. Because the allegations are not identified, Mr. Present cannot

respond to them. With respect to the remaining allegations in the first sentence of Paragraph

106, Mr. Present admits that F-Squared Investments, Inc. registered with the SEC as an

investment adviser in or about March 2008. The allegations of Paragraph 106 otherwise state

conclusions of law to which no response is required. Mr. Present denies any and all

remaining allegations of Paragraph 106.

       107.     Paragraph 107 states conclusions of law to which no response is required. Mr.

Present denies any and all remaining allegations of Paragraph 107.

       Mr. Present denies any and all averments in the headings and subheadings of the

Complaint.




                                              25
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 26 of 30




        The Prayer for Relief at the end of the Complaint contains conclusions of law to

which no response is required. To the extent any response is required, Mr. Present denies

that Plaintiff is entitled to the requested relief.

                                  AFFIRMATIVE DEFENSES
        Without assuming any burden of pleading or proof that would otherwise rest on

Plaintiff, Mr. Present asserts the following separate and additional defenses, all of which are

pleaded in the alternative, and none of which constitutes an admission with respect to any of

the allegations of the Complaint or an admission that the SEC is entitled to any relief

whatsoever. By designating the following affirmative defenses, Mr. Present does not in any

way waive or limit any defenses which are or may be raised by his denials and averments set

forth herein.

        1.      The Complaint fails to state a claim upon which relief may be granted and

should be dismissed.

        2.      The SEC’s claims are barred, in whole or in part, because, at all times

mentioned in the Complaint and with respect to all matters referenced therein, Mr. Present

acted in good faith, and did not know, and in the exercise of reasonable care could not have

known, of any alleged misstatements or omissions of material fact referenced in the

Complaint.

        3.      The SEC’s claims are barred, in whole or in part because, at all times

mentioned in the Complaint and with respect to all matters referenced therein, any and all

actions taken by Mr. Present were proper and consistent with his duties and obligations.

        4.      The SEC’s claims are barred, in whole or in part, by the applicable statutes of

limitations or repose.

        5.      The SEC’s claims, and the allegations upon which they are based, are vague,

ambiguous, and confusing.



                                                  26
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 27 of 30




        6.       The SEC’s claims are barred, in whole or in part, to the extent that those

claims seek to impose upon Mr. Present any duties or obligations that are inconsistent with

those imposed pursuant to law.

        7.       The SEC’s claims are barred, in whole or in part, to the extent any alleged

misrepresentations or omissions and any allegedly false or misleading statements would not

have been deemed “material” by a reasonable investor in light of the totality of the

circumstances.

        8.       The SEC’s claims are barred, in whole or in part, on the grounds that Mr.

Present did not act at any time with scienter or intent to deceive, manipulate, or defraud

investors or anyone else.

        9.       The SEC’s claims are barred, in whole or in part, on the grounds that Mr.

Present did not act at any time with the intent to disregard regulatory requirements.

        10.      The SEC’s claims are barred, in whole or in part, because Mr. Present

reasonably relied upon the work, advice, professional judgment, and opinions of others,

including but not limited to legal and compliance professionals, upon which Mr. Present was

entitled to rely.

        11.      The SEC’s claims are barred, in whole or in part, because any alleged

misrepresentations or allegedly false or misleading statements or omissions referenced in the

Complaint were inadvertent and unintentional.

        12.      The SEC’s claims are barred, in whole or in part, because Mr. Present had no

reasonable ground to believe, and did not believe, that the statements referenced in the

Complaint were untrue or contained any material omission.

        13.      The SEC’s claims are barred, in whole or in part, because any alleged

misrepresentations or allegedly false or misleading statements or omissions referenced in the




                                                27
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 28 of 30




Complaint were based on information supplied by other sources, which information Mr.

Present reasonably believed to be true.

        14.     The SEC’s claims are barred, in whole or in part, because material information

alleged to have been omitted was in fact adequately disclosed to and/or otherwise known to

investors.

        15.     The SEC’s claims for injunctive relief are barred, in whole or in part, because

the SEC has an adequate remedy at law, the SEC has not satisfied the prerequisites for

injunctive relief, and there is no likelihood Mr. Present will commit any future violation of

the securities laws.

        16.     The SEC’s requested relief is not supported by the SEC’s claims because Mr.

Present’s alleged conduct did not cause loss or harm to anyone.

        17.     Mr. Present is not liable for any statements not made by him.

        18.     Mr. Present presently lacks knowledge or information sufficient to form a

belief as to whether there may be other, as yet unstated, defenses available to him, and

therefore expressly: (1) reserves the right to amend or supplement his Answer, defenses, and

all other pleadings; and (2) reserves the right to assert any and all additional defenses under

any applicable law in the event that discovery indicates such defenses would be appropriate.

        WHEREFORE, Mr. Present prays for judgment as follows:

        1.      That the Complaint be dismissed with prejudice and that the relief sought by

Plaintiff be denied in its entirety;

        2.      That the Court enter judgment in favor of Mr. Present; and

        3.      That this Court award such other and further relief as this Court may deem just

and proper.




                                               28
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 29 of 30




                                DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Mr. Present demands

trial by jury in this action of all issues so triable, whether at law or in equity.



Dated: March 23, 2015                                    Respectfully submitted,


                                                         /s/ David M. Zinn
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                                                         David M. Zinn (pro hac vice)
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                                                         Counsel for Howard Present




                                                 29
    Case 1:14-cv-14692-LTS Document 14 Filed 03/23/15 Page 30 of 30




                               CERTIFICATE OF SERVICE

       I hereby certify that, on March 23, 2015 a copy of the foregoing Answer was

electronically filed through the ECF system and will be sent electronically to all persons

identified on the Notice of Electronic Filing.



Dated: March 23, 2015                                /s/ David M. Zinn
                                                     David M. Zinn
